            Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 1 of 19 PageID #: 3614
                                                                                                        PATENT
                                  United States District Court
                              District of Massachusetts (Boston)
                       CIVIL DOCKET FOR CASE #: 1:16−cv−11249−WGY

President and Fellows of Harvard College v. Micron Technology, Inc.    Date Filed: 06/24/2016
Assigned to: Judge William G. Young                                    Jury Demand: Both
related Case: 1:16−cv−11252−WGY                                        Nature of Suit: 830 Patent
Cause: 35:271 Patent Infringement                                      Jurisdiction: Federal Question
Plaintiff
President and Fellows of Harvard College                 represented by Tuhin Ganguly
                                                                        Pepper Hamilton LLP
                                                                        Hamilton Square
                                                                        600 Fourteenth Street, N.W.
                                                                        Washington, DC 20005−2004
                                                                        202−220−1200
                                                                        LEAD ATTORNEY
                                                                        PRO HAC VICE
                                                                        ATTORNEY TO BE NOTICED

                                                                       William D. Belanger
                                                                       Pepper Hamilton LLP
                                                                       19th Floor
                                                                       High Street Tower
                                                                       125 High Street
                                                                       Boston, MA 02110
                                                                       617−204−5100
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                                                                       Email: belangerw@pepperlaw.com
                                                                       LEAD ATTORNEY
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                                                                       Pepper Hamilton LLP
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                                                                       Griffin N. Mesmer
                                                                       Pepper Hamilton LLP
            Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 2 of 19 PageID #: 3615
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                                                            ATTORNEY TO BE NOTICED

                                                            Ryan C. Deck
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                                                            19th Floor, High Street Tower
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                                                            617−204−5100
                                                            Email: deckr@pepperlaw.com
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V.
Defendant
Micron Technology, Inc.                       represented by Aaron Y. Huang
                                                             Weil Gotshal & Manges LLP
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                                                             Redwood Shores, CA 94065
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Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 3 of 19 PageID #: 3616
                                             (650) 802−3034
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                                             PRO HAC VICE
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                                             Redwood Shores, CA 94065
                                             650−802−3000
                                             Email: michele.gauger@weil.com
                                             TERMINATED: 10/06/2017
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                                             ATTORNEY TO BE NOTICED

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                                             650−802−3000
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                                             Fax: 617−772−8333
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           Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 4 of 19 PageID #: 3617
                                                          ATTORNEY TO BE NOTICED

Counter Claimant
Micron Technology, Inc.                      represented by Aaron Y. Huang
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                          J. Jason Lang
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Jared Bobrow
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Megan H. Wantland
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Michele Gauger
                                                          (See above for address)
                                                          TERMINATED: 10/06/2017
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Robert S. Magee
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Patrick J. O'Toole , Jr.
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED


V.
Counter Defendant
President and Fellows of Harvard College     represented by Tuhin Ganguly
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                          William D. Belanger
                                                          (See above for address)
                                                          LEAD ATTORNEY
           Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 5 of 19 PageID #: 3618
                                                          ATTORNEY TO BE NOTICED

                                                          Alison L. McCarthy
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Gregory D. Len
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Griffin N. Mesmer
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Maia H. Harris
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Ryan C. Deck
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Counter Claimant
Micron Technology, Inc.                      represented by Aaron Y. Huang
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                          J. Jason Lang
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Jared Bobrow
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Megan H. Wantland
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Michele Gauger
                                                          (See above for address)
                                                          TERMINATED: 10/06/2017
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Robert S. Magee
                                                          (See above for address)
                                                          LEAD ATTORNEY
              Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 6 of 19 PageID #: 3619
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Patrick J. O'Toole , Jr.
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED


V.
Counter Defendant
President and Fellows of Harvard College                  represented by Tuhin Ganguly
                                                                         (See above for address)
                                                                         LEAD ATTORNEY
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                          William D. Belanger
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Alison L. McCarthy
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gregory D. Len
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Griffin N. Mesmer
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Maia H. Harris
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Ryan C. Deck
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED


 Date Filed        #    Docket Text

 06/24/2016        Ï1   COMPLAINT against Micron Technology, Inc. Filing fee: $ 400, receipt number 0101−6173500
                        (Fee Status: Filing Fee paid), filed by President and Fellows of Harvard College. (Attachments: #
                        1 Exhibit A, # 2 Exhibit B, # 3 Civil Cover Sheet, # 4 Category Form)(Belanger, William)
                        (Attachment 4 replaced on 6/24/2016) (Paine, Matthew). (Entered: 06/24/2016)

 06/24/2016        Ï2   CORPORATE DISCLOSURE STATEMENT by President and Fellows of Harvard College.
                        (Belanger, William) (Entered: 06/24/2016)

 06/24/2016        Ï3   REPORT ON THE FILING OF AN ACTION REGARDING PATENT OR TRADEMARK.
                        (Paine, Matthew) (Entered: 06/24/2016)
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 7 of 19 PageID #: 3620
06/24/2016    Ï4    ELECTRONIC NOTICE of Case Assignment. Judge William G. Young assigned to case. If the
                    trial Judge issues an Order of Reference of any matter in this case to a Magistrate Judge, the
                    matter will be transmitted to Magistrate Judge Donald L. Cabell. (Abaid, Kimberly) (Entered:
                    06/24/2016)

06/24/2016     5    Summons Issued as to Micron Technology, Inc.. Counsel receiving this notice electronically
                    should download this summons, complete one for each defendant and serve it in accordance
                    with Fed.R.Civ.P. 4 and LR 4.1. Summons will be mailed to plaintiff(s) not receiving notice
                    electronically for completion of service. (Paine, Matthew) (Entered: 06/24/2016)

06/24/2016    Ï6    NOTICE of Appearance by Griffin N. Mesmer on behalf of President and Fellows of Harvard
                    College (Mesmer, Griffin) (Entered: 06/24/2016)

06/24/2016    Ï7    Summons Issued as to Micron Technology, Inc.. Counsel receiving this notice electronically
                    should download this summons, complete one for each defendant and serve it in accordance
                    with Fed.R.Civ.P. 4 and LR 4.1. Summons will be mailed to plaintiff(s) not receiving notice
                    electronically for completion of service. (Paine, Matthew) (Entered: 06/24/2016)

06/24/2016    Ï8    NOTICE of Appearance by Maia H. Harris on behalf of President and Fellows of Harvard College
                    (Harris, Maia) (Entered: 06/24/2016)

06/27/2016    Ï9    NOTICE of Appearance by Alison L. McCarthy on behalf of President and Fellows of Harvard
                    College (McCarthy, Alison) (Entered: 06/27/2016)

06/27/2016   Ï 10   NOTICE of Appearance by Gregory D. Len on behalf of President and Fellows of Harvard
                    College (Len, Gregory) (Entered: 06/27/2016)

06/27/2016   Ï 11   SUMMONS Returned Executed Micron Technology, Inc. served on 6/24/2016, answer due
                    7/15/2016. (Belanger, William) (Entered: 06/27/2016)

06/29/2016     Ï    ELECTRONIC NOTICE of Duplicate Filing Fee and Credit for Refund re 1 Complaint,, for
                    $400.00 paid on 06/24/16, receipt number 0101−6173472. (Adam, Lucien) (Entered: 06/29/2016)

07/12/2016   Ï 12   CORPORATE DISCLOSURE STATEMENT by Micron Technology, Inc.. (O'Toole, Patrick)
                    (Entered: 07/12/2016)

07/12/2016   Ï 13   Assented to MOTION for Extension of Time to 08/15/2016 to File Answer by Micron
                    Technology, Inc..(O'Toole, Patrick) (Entered: 07/12/2016)

07/13/2016   Ï 14   Judge William G. Young: ELECTRONIC ORDER entered granting 13 Motion for Extension of
                    Time to Answer/Respond Micron Technology, Inc.. Answer and/or Response due 8/15/2016.
                    (Paine, Matthew) (Entered: 07/13/2016)

07/14/2016   Ï 15   Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Jared Bobrow Filing
                    fee: $ 100, receipt number 0101−6203651 by Micron Technology, Inc.. (Attachments: # 1 Exhibit
                    A)(O'Toole, Patrick) (Entered: 07/14/2016)

07/14/2016   Ï 16   Assented to MOTION for Leave to Appear Pro Hac Vice for admission of J. Jason Lang Filing
                    fee: $ 100, receipt number 0101−6203653 by Micron Technology, Inc.. (Attachments: # 1 Exhibit
                    A)(O'Toole, Patrick) (Entered: 07/14/2016)

07/14/2016   Ï 17   Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Michele Gauger Filing
                    fee: $ 100, receipt number 0101−6203654 by Micron Technology, Inc.. (Attachments: # 1 Exhibit
                    A)(O'Toole, Patrick) (Entered: 07/14/2016)

07/15/2016   Ï 18   Judge William G. Young: ELECTRONIC ORDER entered granting 15 Motion for Leave to
                    Appear Pro Hac; granting 16 Motion for Leave to Appear Pro Hac Vice; granting 17 Motion for
                    Leave to Appear Pro Hac Vice Added Jared Bobrow,J. Jason Lang, and Michele Gauger.
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 8 of 19 PageID #: 3621
                    Attorneys admitted Pro Hac Vice must register for electronic filing if the attorney does not
                    already have an ECF account in this district. To register go to the Court website at
                    www.mad.uscourts.gov. Select Case Information, then Electronic Filing (CM/ECF) and go to
                    the CM/ECF Registration Form. (Paine, Matthew) (Entered: 07/15/2016)

08/15/2016   Ï 19   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Micron Technology,
                    Inc..(O'Toole, Patrick) (Entered: 08/15/2016)

08/15/2016   Ï 20   MEMORANDUM in Support re 19 MOTION TO DISMISS FOR FAILURE TO STATE A
                    CLAIM filed by Micron Technology, Inc.. (O'Toole, Patrick) (Entered: 08/15/2016)

08/15/2016   Ï 21   DECLARATION re 19 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by
                    Micron Technology, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4,
                    # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(O'Toole, Patrick) (Entered: 08/15/2016)

08/16/2016   Ï 22   ELECTRONIC NOTICE Setting Hearing on Motion 19 MOTION TO DISMISS FOR FAILURE
                    TO STATE A CLAIM : Motion Hearing set for 10/13/2016 02:00 PM in Courtroom 18 before
                    Judge William G. Young. (Gaudet, Jennifer) (Entered: 08/16/2016)

08/29/2016   Ï 23   Opposition re 19 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by
                    President and Fellows of Harvard College. (Belanger, William) (Main Document 23 replaced on
                    8/30/2016) (Gaudet, Jennifer). (Entered: 08/29/2016)

09/06/2016   Ï 24   MOTION for Leave to File A Reply In Support Of Its Motion To Dismiss by Micron Technology,
                    Inc.. (Attachments: # 1 Exhibit A)(O'Toole, Patrick) (Entered: 09/06/2016)

09/07/2016   Ï 25   Judge William G. Young: ELECTRONIC ORDER entered granting 24 MOTION for Leave to
                    File A Reply ; Counsel using the Electronic Case Filing System should now file the document for
                    which leave to file has been granted in accordance with the CM/ECF Administrative Procedures.
                    Counsel must include − Leave to file granted on (date of order)− in the caption of the document.
                    (Paine, Matthew) (Entered: 09/07/2016)

09/07/2016   Ï 26   REPLY to Response to 19 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed
                    by Micron Technology, Inc.. (O'Toole, Patrick) (Entered: 09/07/2016)

09/13/2016   Ï 27   Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Megan H. Wantland
                    Filing fee: $ 100, receipt number 0101−6287836 by Micron Technology, Inc.. (Attachments: # 1
                    Exhibit A)(O'Toole, Patrick) (Entered: 09/13/2016)

09/13/2016   Ï 28   Assented to MOTION for Leave to File Sur−Reply in Support of Plaintiff's Opposition to
                    Defendant Micron Technology, Inc.'s Motion to Dismiss the Complaint by President and Fellows
                    of Harvard College. (Attachments: # 1 Exhibit A − Proposed Sur−Reply, # 2 Declaration of
                    Gregory Len in Support of Plaintiff's Sur−Reply, # 3 Exhibit 1 to Sur−Reply, # 4 Exhibit 2 to
                    Sur−Reply)(Belanger, William) (Entered: 09/13/2016)

09/14/2016   Ï 29   Judge William G. Young: ELECTRONIC ORDER entered granting 28 Assented to MOTION for
                    Leave to File Sur−Reply ; Counsel using the Electronic Case Filing System should now file the
                    document for which leave to file has been granted in accordance with the CM/ECF Administrative
                    Procedures. Counsel must include − Leave to file granted on (date of order)− in the caption of the
                    document. (Paine, Matthew) (Entered: 09/14/2016)

09/14/2016   Ï 30   SUR−REPLY to Motion re 19 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                    filed by President and Fellows of Harvard College. (Attachments: # 1 Declaration of Gregory Len
                    in Support of Plaintiff's Sur−Reply, # 2 Exhibit 1, # 3 Exhibit 2)(Belanger, William) (Entered:
                    09/14/2016)

10/13/2016   Ï 33   Electronic Clerk's Notes for proceedings held before Judge William G. Young: Motion Hearing
                    held on 10/13/2016 re 19 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM filed by
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 9 of 19 PageID #: 3622
                    Micron Technology, Inc. After hearing from counsel, the Court enters an Order granting 19
                    Motion to Dismiss for Failure to State a Claim with leave for the plaintiff to file within 30 days a
                    motion for leave to file an amended complaint. (Court Reporter: Richard Romanow at
                    bulldog@richromanow.com.)(Attorneys present: Belanger, Harris for the plaintiff and) (Gaudet,
                    Jennifer) (Entered: 10/17/2016)

10/14/2016   Ï 31   Transcript of Motion to Dismiss held on October 13, 2016, before Judge William G. Young. The
                    Transcript may be purchased through the Court Reporter, viewed at the public terminal, or viewed
                    through PACER after it is released. Court Reporter Name and Contact Information: Richard
                    Romanow at bulldog@richromanow.com Redaction Request due 11/4/2016. Redacted Transcript
                    Deadline set for 11/14/2016. Release of Transcript Restriction set for 1/12/2017. (Scalfani,
                    Deborah) (Entered: 10/14/2016)

10/14/2016   Ï 32   NOTICE is hereby given that an official transcript of a proceeding has been filed by the court
                    reporter in the above−captioned matter. Counsel are referred to the Court's Transcript Redaction
                    Policy, available on the court website at http://www.mad.uscourts.gov/attorneys/general−info.htm
                    (Scalfani, Deborah) (Entered: 10/14/2016)

11/14/2016   Ï 34   Judge William G. Young: ELECTRONIC ORDER entered granting 27 Motion for Leave to
                    Appear Pro Hac Vice Added Megan H. Wantland. Attorneys admitted Pro Hac Vice must
                    register for electronic filing if the attorney does not already have an ECF account in this
                    district. To register go to the Court website at www.mad.uscourts.gov. Select Case
                    Information, then Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form.
                    (Paine, Matthew) (Entered: 11/14/2016)

11/14/2016   Ï 35   MOTION for Leave to File its Amended Complaint by President and Fellows of Harvard College.
                    (Attachments: # 2 Exhibit 1 − Proposed Amended Complaint)(Belanger, William) (Modified on
                    11/15/2016 to Correct Docket Text and Re−File Memorandum of Law in Support.) (Paine,
                    Matthew). (Entered: 11/14/2016)

11/15/2016   Ï 36   MEMORANDUM in Support re 35 MOTION for Leave to File its Amended Complaint filed by
                    President and Fellows of Harvard College. (Paine, Matthew) (Entered: 11/15/2016)

11/21/2016   Ï 37   MOTION for Extension of Time to 12/12/2016 to Respond to Motion for Leave to Amend
                    Complaint by Micron Technology, Inc..(O'Toole, Patrick) (Modified on 11/22/2016 to Correct
                    CM/ECF Filing Event) (Paine, Matthew). (Entered: 11/21/2016)

11/22/2016   Ï 38   Judge William G. Young: ELECTRONIC ORDER entered granting 37 Motion for Extension of
                    Time to File Response re 35 MOTION for Leave to File Amended Complaint Response due by
                    12/12/2016 (Paine, Matthew) (Entered: 11/22/2016)

12/12/2016   Ï 39   Opposition re 35 MOTION for Leave to File its Amended Complaint filed by Micron Technology,
                    Inc.. (Attachments: # 1 Affidavit of Michele A. Gauger, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit
                    C)(O'Toole, Patrick) (Entered: 12/12/2016)

12/12/2016   Ï 40   MOTION to Seal Document [Motion To Seal Exhibit A To The Declaration of Michele A. Gauger
                    In Support Of Micron's Opposition to Plaintiff's Motion For Leave To Amend Complaint] by
                    Micron Technology, Inc.. (Attachments: # 1 Affidavit of Michele A. Gauger)(O'Toole, Patrick)
                    (Entered: 12/12/2016)

12/20/2016   Ï 41   Judge William G. Young: ELECTRONIC ORDER entere: denied, no adequate justification being
                    advanced for sealing the document re 40 Motion to Seal Document (Paine, Matthew) (Entered:
                    12/20/2016)

12/22/2016   Ï 42   Assented to MOTION for Leave to File a Reply in Support of Plaintiff's Motion for Leave to File
                    its Amended Complaint by President and Fellows of Harvard College. (Attachments: # 1 Exhibit A
                    − Plaintiff's Proposed Reply)(Belanger, William) (Entered: 12/22/2016)
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 10 of 19 PageID #: 3623
12/22/2016   Ï 43   EXHIBIT re 39 Opposition to Motion, [Exhibit A To The Declaration of Michele A. Gauger In
                    Support Of Micron's Opposition to Plaintiff's Motion For Leave To Amend Complaint] by Micron
                    Technology, Inc.. (O'Toole, Patrick) (Entered: 12/22/2016)

12/23/2016   Ï 44   Judge William G. Young: ELECTRONIC ORDER entered granting 42 Assented to MOTION for
                    Leave to File a Reply in Support of Plaintiff's Motion for Leave to File its Amended Complaint;
                    Counsel using the Electronic Case Filing System should now file the document for which leave to
                    file has been granted in accordance with the CM/ECF Administrative Procedures. Counsel must
                    include − Leave to file granted on (date of order)− in the caption of the document. (Paine,
                    Matthew) (Entered: 12/23/2016)

12/23/2016   Ï 45   REPLY to Response to 35 MOTION for Leave to File its Amended Complaint filed by President
                    and Fellows of Harvard College. (Belanger, William) (Entered: 12/23/2016)

12/27/2016   Ï 46   MOTION for Leave to File [Defendant's Unopposed Motion For Leave To File Sur−Reply In
                    Opposition To Harvard's Motion For Leave To File Amended Complaint] by Micron Technology,
                    Inc.. (Attachments: # 1 Exhibit A)(Bobrow, Jared) (Entered: 12/27/2016)

12/28/2016   Ï 47   Judge William G. Young: ELECTRONIC ORDER entered granting 46 Motion for Leave to File
                    Sur−Reply ; Counsel using the Electronic Case Filing System should now file the document for
                    which leave to file has been granted in accordance with the CM/ECF Administrative Procedures.
                    Counsel must include − Leave to file granted on (date of order)− in the caption of the document.
                    (Paine, Matthew) (Entered: 12/28/2016)

12/28/2016   Ï 48   SUR−REPLY to Motion re 35 MOTION for Leave to File its Amended Complaint filed by Micron
                    Technology, Inc.. (Bobrow, Jared) (Entered: 12/28/2016)

01/30/2017   Ï 49   Judge William G. Young: ORDER entered. MEMORANDUM AND ORDER"Because Harvard's
                    amended complaint states plausible grounds for relief, this Court GRANTS Harvard leave to file
                    its amended complaint, ECF No. 35 . SO ORDERED."(Sonnenberg, Elizabeth) (Entered:
                    01/30/2017)

01/30/2017   Ï 50   AMENDED COMPLAINT against Micron Technology, Inc., filed by President and Fellows of
                    Harvard College. (Attachments: # 1 Exhibit A − U.S. Patent No. 6,969,539, # 2 Exhibit B − U.S.
                    Patent No. 8,334,016)(Belanger, William) (Entered: 01/30/2017)

01/31/2017   Ï 51   NOTICE by Micron Technology, Inc. [Notice of Request for Inter Partes Review of
                    Patents−In−Suit] (Bobrow, Jared) (Entered: 01/31/2017)

02/03/2017   Ï 52   Assented to MOTION for Extension of Time to February 27, 2017 to File Answer to Harvard's
                    Amended Complaint by Micron Technology, Inc..(Bobrow, Jared) (Entered: 02/03/2017)

02/06/2017   Ï 53   Judge William G. Young: ELECTRONIC ORDER entered granting 52 Motion for Extension of
                    Time to Answer or Otherwise Respond. Micron Technology, Inc. answer/response due 2/27/2017.
                    (Paine, Matthew) (Entered: 02/06/2017)

02/10/2017   Ï 54   MOTION to Stay Pending Inter Partes Review by Micron Technology, Inc..(Bobrow, Jared)
                    (Entered: 02/10/2017)

02/10/2017   Ï 55   MEMORANDUM in Support re 54 MOTION to Stay Pending Inter Partes Review filed by
                    Micron Technology, Inc.. (Bobrow, Jared) (Entered: 02/10/2017)

02/10/2017   Ï 56   DECLARATION re 55 Memorandum in Support of Motion To Stay Pending Inter Partes Review
                    by Micron Technology, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Bobrow,
                    Jared) (Entered: 02/10/2017)

02/24/2017   Ï 57   Opposition re 54 MOTION to Stay Pending Inter Partes Review filed by President and Fellows of
                    Harvard College. (Belanger, William) (Entered: 02/24/2017)
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 11 of 19 PageID #: 3624
02/27/2017   Ï 58   ANSWER to 50 Amended Complaint , COUNTERCLAIM against President and Fellows of
                    Harvard College by Micron Technology, Inc..(Bobrow, Jared) (Entered: 02/27/2017)

03/02/2017   Ï 59   ELECTRONIC NOTICE Setting Hearing on Motion 54 MOTION to Stay Pending Inter Partes
                    Review : Motion Hearing set for 3/6/2017 02:00 PM in Courtroom 18 before Judge William G.
                    Young. (Gaudet, Jennifer) (Entered: 03/02/2017)

03/02/2017   Ï 60   ELECTRONIC NOTICE Resetting Hearing on Motion 54 MOTION to Stay Pending Inter Partes
                    Review : Motion Hearing set for 3/14/2017 02:00 PM in Courtroom 18 before Judge William G.
                    Young. (Gaudet, Jennifer) (Entered: 03/02/2017)

03/02/2017   Ï 61   MOTION for Leave to File Reply In Support Of Motion To Stay by Micron Technology, Inc..
                    (Attachments: # 1 Exhibit A)(Bobrow, Jared) (Entered: 03/02/2017)

03/03/2017   Ï 62   Judge William G. Young: ELECTRONIC ORDER entered granting 61 MOTION for Leave to
                    File Reply In Support Of Motion To Stay ; Counsel using the Electronic Case Filing System
                    should now file the document for which leave to file has been granted in accordance with the
                    CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on (date of
                    order)− in the caption of the document. (Paine, Matthew) (Entered: 03/03/2017)

03/03/2017   Ï 63   REPLY to Response to 54 MOTION to Stay Pending Inter Partes Review filed by Micron
                    Technology, Inc.. (Bobrow, Jared) (Entered: 03/03/2017)

03/03/2017   Ï 64   DECLARATION re 63 Reply to Response to Motion to Stay Pending Inter Partes Review by
                    Micron Technology, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Bobrow, Jared) (Entered:
                    03/03/2017)

03/10/2017   Ï 65   MOTION for Leave to File Sur−Reply to Micron Technology, Inc.'s Reply in Support of its
                    Motion to Stay by President and Fellows of Harvard College. (Attachments: # 1 Exhibit A −
                    Plaintiff's Proposed Sur−Reply)(Belanger, William) (Entered: 03/10/2017)

03/13/2017   Ï 66   Judge William G. Young: ELECTRONIC ORDER entered granting 65 Motion for Leave to File
                    Document ; Counsel using the Electronic Case Filing System should now file the document for
                    which leave to file has been granted in accordance with the CM/ECF Administrative Procedures.
                    Counsel must include − Leave to file granted on (date of order)− in the caption of the document.
                    (Gaudet, Jennifer) (Entered: 03/13/2017)

03/13/2017   Ï 67   ELECTRONIC NOTICE Resetting Hearing on Motion 54 MOTION to Stay Pending Inter Partes
                    Review : Motion Hearing reset for 3/30/2017 02:30 PM in Courtroom 18 before Judge William G.
                    Young. (Gaudet, Jennifer) (Entered: 03/13/2017)

03/13/2017   Ï 68   SUR−REPLY to Motion re 54 MOTION to Stay Pending Inter Partes Review filed by President
                    and Fellows of Harvard College. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Belanger, William)
                    (Entered: 03/13/2017)

03/20/2017   Ï 69   AMENDED ANSWER to 50 Amended Complaint , Amended COUNTERCLAIM against
                    President and Fellows of Harvard College by Micron Technology, Inc.. (Bobrow, Jared) (Entered:
                    03/20/2017)

03/30/2017   Ï 71   Electronic Clerk's Notes for proceedings held before Judge William G. Young: Motion Hearing
                    held on 3/30/2017 re 54 MOTION to Stay Pending Inter Partes Review filed by Micron
                    Technology, Inc. Counsel notify the Court that 54 MOTION to stay is withdrawn. The Court
                    holds a scheduling conference and places the case on the running trial list for April 2018. A final
                    pretrial conference will be held in March 2018. Counsel are instructed to file a joint proposed case
                    management schedule within two weeks. (Court Reporter: Kelly Mortellite at
                    mortellite@gmail.com.)(Attorneys present: Belanger for the plaintiff, Bobrow and O'Toole for the
                    defendant) (Gaudet, Jennifer) (Entered: 04/07/2017)
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 12 of 19 PageID #: 3625
03/31/2017   Ï 70   ANSWER to Counterclaim by President and Fellows of Harvard College.(Belanger, William)
                    (Entered: 03/31/2017)

04/07/2017   Ï 72   Set/Reset Hearings: Ready for Trial on 4/2/2018 09:00 AM in Courtroom 18 before Judge
                    William G. Young. (Gaudet, Jennifer) (Entered: 04/07/2017)

04/13/2017   Ï 73   JOINT STATEMENT re scheduling conference . (Attachments: # 1 Exhibit A − Discovery Plan
                    and Proposed Schedule)(Belanger, William) (Entered: 04/13/2017)

04/13/2017   Ï 74   CERTIFICATION pursuant to Local Rule 16.1 . (Bobrow, Jared) (Entered: 04/13/2017)

04/14/2017   Ï 75   Judge William G. Young: ORDER entered. re 73 JOINT STATEMENT is so ordered as modified
                    as the case management scheduling order. DISCOVERY DUE December 15, 2017 and
                    DISPOSITIVE MOTIONS DUE January 2, 2018. (Attachments: # 1 Exhibit A)(Paine, Matthew)
                    (Entered: 04/14/2017)

04/21/2017   Ï 76   CERTIFICATION pursuant to Local Rule 16.1 . (Belanger, William) (Entered: 04/21/2017)

05/18/2017   Ï 77   Assented to MOTION for Extension of Time to 5/26/2017 to File Proposed Protective Order by
                    President and Fellows of Harvard College.(Belanger, William) (Entered: 05/18/2017)

05/19/2017   Ï 78   Judge William G. Young: ELECTRONIC ORDER entered granting 77 Assented to MOTION for
                    Extension of Time to 5/26/2017 to File Proposed Protective Order. (Paine, Matthew) (Entered:
                    05/19/2017)

05/26/2017   Ï 79   Joint MOTION for Protective Order by President and Fellows of Harvard College. (Attachments:
                    # 1 Exhibit 1 − Protective Order)(Belanger, William) (Entered: 05/26/2017)

05/31/2017   Ï 80   NOTICE by Micron Technology, Inc. Supplemental Notice of Request for Inter Partes Review of
                    Patents−In−Suit (Bobrow, Jared) (Entered: 05/31/2017)

06/01/2017   Ï 81   Judge William G. Young: ELECTRONIC ORDER entered: Motion allowed as modifed re 79
                    Joint MOTION for Protective Order. (Paine, Matthew) (Entered: 06/01/2017)

06/01/2017   Ï 82   Judge William G. Young: ORDER entered. PROTECTIVE ORDER as modified (Attachments: #
                    1 Exhibit A)(Paine, Matthew) (Entered: 06/01/2017)

06/02/2017   Ï 83   MOTION to Dismiss For Improper Venue by Micron Technology, Inc..(Bobrow, Jared) (Entered:
                    06/02/2017)

06/02/2017   Ï 84   MEMORANDUM in Support re 83 MOTION to Dismiss For Improper Venue filed by Micron
                    Technology, Inc.. (Attachments: # 1 Declaration of Jared Bobrow, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                    Exhibit 3)(Bobrow, Jared) (Entered: 06/02/2017)

06/07/2017   Ï 85   ELECTRONIC NOTICE Setting Hearing on Motion 83 MOTION to Dismiss For Improper
                    Venue : Motion Hearing set for 7/24/2017 02:00 PM in Courtroom 18 before Judge William G.
                    Young. (Gaudet, Jennifer) (Entered: 06/07/2017)

06/16/2017   Ï 86   Opposition re 83 MOTION to Dismiss For Improper Venue filed by President and Fellows of
                    Harvard College. (Attachments: # 1 Declaration of William Belanger, # 2 Exhibit 1, # 3 Exhibit 2,
                    # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit
                    9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit
                    15)(Belanger, William) (Entered: 06/16/2017)

06/26/2017   Ï 87   MOTION for Leave to File Reply In Support of Motion to Dismiss for Improper Venue by Micron
                    Technology, Inc.. (Attachments: # 1 Exhibit 1, # 2 Declaration of Michele Gauger, # 3 Exhibit A,
                    # 4 Exhibit B)(Bobrow, Jared) (Entered: 06/26/2017)

06/27/2017   Ï 88
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 13 of 19 PageID #: 3626
                     Judge William G. Young: ELECTRONIC ORDER entered granting 87 MOTION for Leave to
                     File Reply ; Counsel using the Electronic Case Filing System should now file the document for
                     which leave to file has been granted in accordance with the CM/ECF Administrative Procedures.
                     Counsel must include − Leave to file granted on (date of order)− in the caption of the document.
                     (Paine, Matthew) (Entered: 06/27/2017)

06/27/2017    Ï 89   REPLY to Response to 83 MOTION to Dismiss For Improper Venue filed by Micron
                     Technology, Inc.. (Attachments: # 1 Declaration of Michele Gauger, # 2 Exhibit A, # 3 Exhibit
                     B)(Bobrow, Jared) (Entered: 06/27/2017)

07/05/2017    Ï 90   Notice of Supplemental Authorities re 83 MOTION to Dismiss For Improper Venue
                     (Attachments: # 1 Exhibit A)(Bobrow, Jared) (Entered: 07/05/2017)

07/14/2017    Ï 91   MOTION for Leave to File Sur−Reply in Opposition to Defendant Micron Technology, Inc.'s Rule
                     12(b)(3) motion to Dismiss for Improper Venue by President and Fellows of Harvard College.
                     (Attachments: # 1 Exhibit A)(Belanger, William) (Entered: 07/14/2017)

07/14/2017    Ï 92   Judge William G. Young: ELECTRONIC ORDER entered granting 91 MOTION for Leave to
                     File Sur−Reply ; Counsel using the Electronic Case Filing System should now file the document
                     for which leave to file has been granted in accordance with the CM/ECF Administrative
                     Procedures. Counsel must include − Leave to file granted on (date of order)− in the caption of the
                     document. (Paine, Matthew) (Entered: 07/14/2017)

07/14/2017    Ï 93   SUR−REPLY to Motion re 83 MOTION to Dismiss For Improper Venue filed by President and
                     Fellows of Harvard College. (Attachments: # 1 Declaration of William Belanger, # 2 Exhibit 1, #
                     3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8,
                     # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12)(Belanger, William) (Entered:
                     07/14/2017)

07/17/2017    Ï 94   ELECTRONIC NOTICE issued requesting courtesy copy for 93 Sur−Reply to Motion,. Counsel
                     who filed this document are requested to submit a courtesy copy of this document (or documents)
                     to the Clerk's Office attention Matthew Paine Docket Clerk Judge Young. These documents
                     must be clearly marked as a Courtesy Copy and reflect the document number assigned by
                     CM/ECF. (Paine, Matthew) (Entered: 07/17/2017)

07/18/2017    Ï 95   MOTION to Modify Protective Order by President and Fellows of Harvard College.
                     (Attachments: # 1 Exhibit A)(Belanger, William) (Entered: 07/18/2017)

07/24/2017    Ï 96   Electronic Clerk's Notes for proceedings held before Judge William G. Young: Motion Hearing
                     held on 7/24/2017 re 83 MOTION to Dismiss For Improper Venue filed by Micron Technology,
                     Inc. After hearing from counsel, the Court enters an order taking under advisement 83 Motion to
                     Dismiss to allow the Court to write an opinion. (Court Reporter: Richard Romanow at
                     bulldog@richromanow.com.)(Attorneys present: Attorney Belanger for the plaintiff, Attorneys
                     Bobrow and O'Toole for the defendant) (Gaudet, Jennifer) (Entered: 07/25/2017)

07/26/2017    Ï 97   Notice of Supplemental Authorities re 83 MOTION to Dismiss For Improper Venue
                     (Attachments: # 1 Exhibit A)(Bobrow, Jared) (Entered: 07/26/2017)

07/26/2017    Ï 98   NOTICE by Micron Technology, Inc. Supplemental Notice Regarding Inter Partes Review of
                     Patents−In−Suit (Bobrow, Jared) (Entered: 07/26/2017)

07/27/2017    Ï 99   Notice of Supplemental Authorities re 83 MOTION to Dismiss For Improper Venue
                     (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                     Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit
                     L)(Belanger, William) (Entered: 07/27/2017)

08/01/2017   Ï 100
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 14 of 19 PageID #: 3627
                     Opposition re 95 MOTION to Modify Protective Order filed by Micron Technology, Inc..
                     (Attachments: # 1 Declaration of Megan Wantland, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5
                     Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7)(Bobrow, Jared) (Entered: 08/01/2017)

08/02/2017   Ï 101   Transcript of Motion to Dismiss Hearing held on July 24, 2017, before Judge William G. Young.
                     The Transcript may be purchased through the Court Reporter, viewed at the public terminal, or
                     viewed through PACER after it is released. Court Reporter Name and Contact Information:
                     Richard Romanow at bulldog@richromanow.com Redaction Request due 8/23/2017. Redacted
                     Transcript Deadline set for 9/5/2017. Release of Transcript Restriction set for 10/31/2017.
                     (Scalfani, Deborah) (Entered: 08/02/2017)

08/02/2017   Ï 102   NOTICE is hereby given that an official transcript of a proceeding has been filed by the court
                     reporter in the above−captioned matter. Counsel are referred to the Court's Transcript Redaction
                     Policy, available on the court website at http://www.mad.uscourts.gov/attorneys/general−info.htm
                     (Scalfani, Deborah) (Entered: 08/02/2017)

08/09/2017   Ï 103   Notice of Supplemental Authorities re 83 MOTION to Dismiss For Improper Venue
                     (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Bobrow,
                     Jared) (Entered: 08/09/2017)

08/11/2017   Ï 104   Joint List of Claim Terms to be Construed By the Court, by President and Fellows of Harvard
                     College. (Belanger, William) Modified on 8/11/2017 (Paine, Matthew). (Entered: 08/11/2017)

08/16/2017   Ï 105   ELECTRONIC NOTICE of Hearing. Markman Hearing set for 12/11/2017 02:00 PM in
                     Courtroom 18 before Judge William G. Young. (Gaudet, Jennifer) (Entered: 08/16/2017)

08/16/2017   Ï 106   Judge William G. Young: ELECTRONIC ORDER entered re 95 Motion to Modify Protective
                     Order.

                     Motion denied without prejudice to its renewal supported by evidence demonstrating good cause
                     for the modification.

                     (Paine, Matthew) (Entered: 08/16/2017)

08/28/2017   Ï 107   Joint MOTION for Extension of Time to Complete Discovery by President and Fellows of
                     Harvard College.(Len, Gregory) (Entered: 08/28/2017)

08/29/2017   Ï 108   NOTICE of Appearance by James B. Peloquin on behalf of Micron Technology, Inc. (Peloquin,
                     James) (Entered: 08/29/2017)

08/30/2017   Ï 109   Judge William G. Young: ORDER entered. MEMORANDUM AND ORDER"For the foregoing
                     reasons, this Court DENIES Micron's motion to dismiss, ECF No. 83 . SO
                     ORDERED."(Sonnenberg, Elizabeth) (Entered: 08/30/2017)

08/31/2017   Ï 110   Judge William G. Young: ELECTRONIC ORDER entered granting 107 Joint Motion for
                     Extension of Time to Complete Discovery. Deadline for reply claim construction briefs is
                     extended to 9/29/2017; deadline for joint claim construction and prehearing statement is extended
                     to 10/13/2017. The Markman hearing remains set for December 11, 2017 at 2:00 PM. (Gaudet,
                     Jennifer) (Entered: 08/31/2017)

09/01/2017   Ï 111   Preliminary Claim Construction Briefs by President and Fellows of Harvard College.
                     (Attachments: # 1 Declaration of Wayne L. Gladfelter, Ph.D. In Support of Plaintiff's Preliminary
                     Brief on Claim Construction)(Belanger, William) (Entered: 09/01/2017)

09/01/2017   Ï 112   Preliminary Claim Construction Briefs by Micron Technology, Inc.. (Bobrow, Jared) (Entered:
                     09/01/2017)

09/01/2017   Ï 113
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 15 of 19 PageID #: 3628
                     MOTION for Protective Order Amended Protective Order Limited to Gregory Parsons, Ph.D. by
                     President and Fellows of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                     C, # 4 Exhibit D)(Belanger, William) (Entered: 09/01/2017)

09/01/2017   Ï 114   DECLARATION re 112 Preliminary Claim Construction Briefs of Michele Gauger by Micron
                     Technology, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                     Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit
                     11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17
                     Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, #
                     23 Exhibit 23, # 24 Exhibit 24)(Bobrow, Jared) (Entered: 09/01/2017)

09/01/2017   Ï 115   DECLARATION re 112 Preliminary Claim Construction Briefs of Dr. E. Fred Schubert by
                     Micron Technology, Inc.. (Attachments: # 1 Appendix A, # 2 Appendix B)(Bobrow, Jared)
                     (Entered: 09/01/2017)

09/05/2017   Ï 116   ELECTRONIC NOTICE issued requesting courtesy copy for 114 Declaration,, 115 Declaration,
                     113 MOTION for Protective Order Amended Protective Order Limited to Gregory Parsons,
                     Ph.D., 111 Preliminary Claim Construction Briefs, 112 Preliminary Claim Construction Briefs.
                     Counsel who filed this document are requested to submit a courtesy copy of this document (or
                     documents) to the Clerk's Office attention Matthew Paine Docket Clerk Judge Young. These
                     documents must be clearly marked as a Courtesy Copy and reflect the document number
                     assigned by CM/ECF. (Paine, Matthew) (Entered: 09/05/2017)

09/06/2017   Ï 117   Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Aaron Y. Huang Filing
                     fee: $ 100, receipt number 0101−6783627 by Micron Technology, Inc.. (Attachments: # 1 Exhibit
                     A)(O'Toole, Patrick) (Entered: 09/06/2017)

09/07/2017   Ï 118   Judge William G. Young: ELECTRONIC ORDER entered granting 117 Motion for Leave to
                     Appear Pro Hac Vice Added Aaron Y. Huang. Attorneys admitted Pro Hac Vice must register
                     for electronic filing if the attorney does not already have an ECF account in this district. To
                     register go to the Court website at www.mad.uscourts.gov. Select Case Information, then
                     Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form. (Paine, Matthew)
                     (Entered: 09/07/2017)

09/15/2017   Ï 119   Opposition re 113 MOTION for Protective Order Amended Protective Order Limited to Gregory
                     Parsons, Ph.D. filed by Micron Technology, Inc.. (Attachments: # 1 Declaration of Megan H.
                     Wantland, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, #
                     8 Exhibit 7)(Bobrow, Jared) (Entered: 09/15/2017)

09/18/2017   Ï 120   Transcript of Motion Hearing held on March 30, 2017, before Judge William G. Young. The
                     Transcript may be purchased through the Court Reporter, viewed at the public terminal, or viewed
                     through PACER after it is released. Court Reporter Name and Contact Information: Kelly
                     Mortellite at mortellite@gmail.com Redaction Request due 10/10/2017. Redacted Transcript
                     Deadline set for 10/19/2017. Release of Transcript Restriction set for 12/18/2017. (Scalfani,
                     Deborah) (Entered: 09/18/2017)

09/18/2017   Ï 121   NOTICE is hereby given that an official transcript of a proceeding has been filed by the court
                     reporter in the above−captioned matter. Counsel are referred to the Court's Transcript Redaction
                     Policy, available on the court website at http://www.mad.uscourts.gov/attorneys/general−info.htm
                     (Scalfani, Deborah) (Entered: 09/18/2017)

09/21/2017   Ï 122   Judge William G. Young: ELECTRONIC ORDER entered granting 113 MOTION for Protective
                     Order Amended Protective Order Limited to Gregory Parsons, Ph.D. (Paine, Matthew) (Entered:
                     09/21/2017)

09/21/2017   Ï 123   Judge William G. Young: ORDER entered. AMENDED PROTECTIVE ORDER Limited to
                     Gregory Parsons, Ph.D.(Paine, Matthew) (Entered: 09/21/2017)
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 16 of 19 PageID #: 3629
09/29/2017   Ï 124   Reply to Preliminary Claim Construction Briefs by President and Fellows of Harvard College.
                     (Belanger, William) (Entered: 09/29/2017)

09/29/2017   Ï 125   DECLARATION re 124 Reply to Preliminary Claim Construction Briefs of Wayne L. Gladfelter
                     Ph. D. by President and Fellows of Harvard College. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                     # 3 Exhibit C, # 4 Exhibit D)(Belanger, William) (Entered: 09/29/2017)

09/29/2017   Ï 126   Reply to Preliminary Claim Construction Briefs by Micron Technology, Inc.. (Bobrow, Jared)
                     (Entered: 09/29/2017)

09/29/2017   Ï 127   DECLARATION re 126 Reply to Preliminary Claim Construction Briefs of Michele Gauger by
                     Micron Technology, Inc.. (Attachments: # 1 Exhibit 25, # 2 Exhibit 26)(Bobrow, Jared) (Entered:
                     09/29/2017)

09/29/2017   Ï 128   DECLARATION re 126 Reply to Preliminary Claim Construction Briefs of Dr. E. Fred Schubert
                     by Micron Technology, Inc.. (Bobrow, Jared) (Entered: 09/29/2017)

10/02/2017   Ï 129   ELECTRONIC NOTICE issued requesting courtesy copy for 127 Declaration, 126 Reply to
                     Preliminary Claim Construction Briefs, 124 Reply to Preliminary Claim Construction Briefs, 128
                     Declaration, 125 Declaration,. Counsel who filed this document are requested to submit a courtesy
                     copy of this document (or documents) to the Clerk's Office attention Matthew Paine Docket Clerk
                     Judge Young. These documents must be clearly marked as a Courtesy Copy and reflect the
                     document number assigned by CM/ECF. (Paine, Matthew) (Entered: 10/02/2017)

10/05/2017   Ï 130   Assented−To MOTION to Withdraw as Attorney by Micron Technology, Inc..(O'Toole, Patrick)
                     (Modified on 10/6/2017 to Correct Docket Text and CM/ECF Filing Event) (Paine, Matthew).
                     (Entered: 10/05/2017)

10/06/2017   Ï 131   Judge William G. Young: ELECTRONIC ORDER entered granting 130 Assented−To Motion to
                     Withdraw as Attorney. Attorney Michele Gauger terminated (Paine, Matthew) (Entered:
                     10/06/2017)

10/13/2017   Ï 132   Joint Claim Construction and Prehearing Statement by President and Fellows of Harvard College.
                     (Attachments: # 1 Exhibit A)(Belanger, William) (Entered: 10/13/2017)

10/19/2017   Ï 133   NOTICE of Appearance by Ryan C. Deck on behalf of President and Fellows of Harvard College
                     (Deck, Ryan) (Entered: 10/19/2017)

10/26/2017   Ï 134   MOTION for Leave to File Documents Under Seal by Micron Technology, Inc.. (Attachments: #
                     1 Affidavit, # 2 Protective Order)(Peloquin, James) (Entered: 10/26/2017)

10/30/2017   Ï 135   Judge William G. Young: ELECTRONIC ORDER entered re 134 MMOTION for Leave to File
                     Documents Under Seal.

                     The confidential material itself may be submitted under seal but nothing else. Sufficient
                     generalized references may be made to it without breaching its confidentiality.

                     (Paine, Matthew) (Entered: 10/30/2017)

10/30/2017   Ï 136   Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Tuhin Ganguly Filing
                     fee: $ 100, receipt number 0101−6863270 by President and Fellows of Harvard College.
                     (Attachments: # 1 Exhibit A)(Len, Gregory) (Entered: 10/30/2017)

10/30/2017   Ï 137   Assented to MOTION for Leave to Appear Pro Hac Vice for admission of Robert S. Magee Filing
                     fee: $ 100, receipt number 0101−6863292 by Micron Technology, Inc.. (Attachments: # 1
                     Declaration of Robert S. Magee)(O'Toole, Patrick) (Entered: 10/30/2017)

10/31/2017   Ï 138
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 17 of 19 PageID #: 3630
                     Judge William G. Young: ELECTRONIC ORDER entered granting 136 Motion for Leave to
                     Appear Pro Hac Vic. Added Tuhin Ganguly. Attorneys admitted Pro Hac Vice must register
                     for electronic filing if the attorney does not already have an ECF account in this district. To
                     register go to the Court website at www.mad.uscourts.gov. Select Case Information, then
                     Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form. (Paine, Matthew)
                     (Entered: 10/31/2017)

10/31/2017   Ï 139   Judge William G. Young: ELECTRONIC ORDER entered granting 137 Motion for Leave to
                     Appear Pro Hac Vic. Added Robert S. Magee. Attorneys admitted Pro Hac Vice must register
                     for electronic filing if the attorney does not already have an ECF account in this district. To
                     register go to the Court website at www.mad.uscourts.gov. Select Case Information, then
                     Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form. (Paine, Matthew)
                     (Entered: 10/31/2017)

10/31/2017   Ï 140   MOTION to Compel Non−Party GlobalFoundries U.S., Inc. to Produce Documents and Appear
                     at Deposition by Micron Technology, Inc..(Peloquin, James) (Entered: 10/31/2017)

10/31/2017   Ï 141   MEMORANDUM in Support re 140 MOTION to Compel Non−Party GlobalFoundries U.S., Inc.
                     to Produce Documents and Appear at Deposition filed by Micron Technology, Inc.. (Attachments:
                     # 1 Exhibit B)(Peloquin, James) (Additional attachment(s) added on 10/31/2017: # 2 Exhibit A
                     (FILED UNDER SEAL), # 3 Exhibit C (FILED UNDER SEAL), # 4 Exhibit D (FILED UNDER
                     SEAL)) (Paine, Matthew). (Entered: 10/31/2017)

11/03/2017   Ï 142   MOTION to Compel Non−Party Seigi Suh To Comply With A Subpoena by Micron Technology,
                     Inc..(Bobrow, Jared) (Entered: 11/03/2017)

11/03/2017   Ï 143   MEMORANDUM in Support re 142 MOTION to Compel Non−Party Seigi Suh To Comply With
                     A Subpoena filed by Micron Technology, Inc.. (Bobrow, Jared) (Entered: 11/03/2017)

11/03/2017   Ï 144   DECLARATION re 142 MOTION to Compel Non−Party Seigi Suh To Comply With A Subpoena
                     of Megan H. Wantland by Micron Technology, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, #
                     3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9,
                     # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13)(Bobrow, Jared) (Entered:
                     11/03/2017)

11/06/2017   Ï 145   Joint MOTION to Modify Scheduling Order by President and Fellows of Harvard
                     College.(Belanger, William) (Entered: 11/06/2017)

11/07/2017   Ï 146   CERTIFICATE OF SERVICE pursuant to LR 5.2 by Micron Technology, Inc. re 144 Declaration,
                     143 Memorandum in Support of Motion, 142 MOTION to Compel Non−Party Seigi Suh To
                     Comply With A Subpoena . (Bobrow, Jared) (Entered: 11/07/2017)

11/07/2017   Ï 147   CERTIFICATE OF SERVICE pursuant to LR 5.2 by Micron Technology, Inc. re 144 Declaration,
                     143 Memorandum in Support of Motion, 142 MOTION to Compel Non−Party Seigi Suh To
                     Comply With A Subpoena . (Bobrow, Jared) (Entered: 11/07/2017)

11/08/2017   Ï 148   Judge William G. Young: ELECTRONIC ORDER entered granting 145 Joint MOTION to
                     Modify Scheduling Order (Paine, Matthew) (Entered: 11/08/2017)

11/08/2017   Ï 149   Reset Deadlines: Discovery to be completed by 12/22/2017 Motions due by 1/9/2018 (Paine,
                     Matthew) (Entered: 11/08/2017)

11/09/2017   Ï 150   Joint MOTION for Extension of Time to November 21, 2017 to Allow GlobalFoundries U.S. Inc.
                     to Respond to Micron's Motion to Compel [Docket No. 140] by Micron Technology,
                     Inc..(Peloquin, James) Modified on 11/13/2017 to Correct CM/ECF Filing Event (Paine,
                     Matthew). (Entered: 11/09/2017)

11/14/2017   Ï 151
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 18 of 19 PageID #: 3631
                     Judge William G. Young: ELECTRONIC ORDER entered granting 150 Joint Motion for
                     Extension of Time to File Response re 140 MOTION to Compel Non−Party GlobalFoundries
                     U.S., Inc. to Produce Documents and Appear at Deposition Response(s) due by 11/21/2017
                     (Paine, Matthew) (Entered: 11/14/2017)

11/15/2017   Ï 152   ELECTRONIC NOTICE of Hearing. Status Conference set for 11/21/2017 02:00 PM in
                     Courtroom 18 before Judge William G. Young. (Gaudet, Jennifer) (Entered: 11/15/2017)

11/16/2017   Ï 153   Supplemental MEMORANDUM in Support re 140 MOTION to Compel Non−Party
                     GlobalFoundries U.S., Inc. to Produce Documents and Appear at Deposition filed by Micron
                     Technology, Inc.. (Peloquin, James) (Entered: 11/16/2017)

11/20/2017   Ï 154   STATEMENT OF COUNSEL of Defendant Micron Technology, Inc. re 152 Notice of Hearing
                     by Micron Technology, Inc.. (Bobrow, Jared) (Entered: 11/20/2017)

11/21/2017   Ï 155   Electronic Clerk's Notes for proceedings held before Judge William G. Young: Status Conference
                     held on 11/21/2017. Counsel update the Court on the status of the case. A hearing re forfeiture is
                     set for Wednesday, November 29, 2017 at 2:30 PM. The matter of forfeiture and other Orders of
                     the Court will be held in abeyance until and if a mandate were to issue. Plaintiff to file memo
                     regarding forfeiture by the close of business on Monday, November 27, 2017. (Forfeiture Hearing
                     set for 11/29/2017 02:30 PM in Courtroom 18 before Judge William G. Young.). (Court Reporter:
                     Debra Joyce at joycedebra@gmail.com.)(Attorneys present: Attorney Belanger and Attorney Len
                     for the plainitiff, Attorneys Bobrow, O'Toole and Peloquin for the defendant) (Gaudet, Jennifer)
                     (Entered: 11/21/2017)

11/21/2017   Ï 156   Joint MOTION for Extension of Time to 12/01/2017 to File Response/Reply as to 140 MOTION
                     to Compel Non−Party GlobalFoundries U.S., Inc. to Produce Documents and Appear at
                     Deposition by Micron Technology, Inc..(Peloquin, James) (Entered: 11/21/2017)

11/22/2017   Ï 157   Transcript of Status Conference held on November 21, 2017, before Judge William G. Young.
                     The Transcript may be purchased through the Court Reporter, viewed at the public terminal, or
                     viewed through PACER after it is released. Court Reporter Name and Contact Information: Debra
                     Joyce at joycedebra@gmail.com Redaction Request due 12/13/2017. Redacted Transcript
                     Deadline set for 12/26/2017. Release of Transcript Restriction set for 2/20/2018. (Scalfani,
                     Deborah) Modified on 11/22/2017 (Scalfani, Deborah). (Entered: 11/22/2017)

11/22/2017   Ï 158   Notice of correction to docket made by Court staff. Correction: Transcript Docket entry #157
                     edited to correct the Judge's name in this case. (Scalfani, Deborah) (Entered: 11/22/2017)

11/22/2017   Ï 159   NOTICE is hereby given that an official transcript of a proceeding has been filed by the court
                     reporter in the above−captioned matter. Counsel are referred to the Court's Transcript Redaction
                     Policy, available on the court website at http://www.mad.uscourts.gov/attorneys/general−info.htm
                     (Scalfani, Deborah) (Entered: 11/22/2017)

11/27/2017   Ï 160   ELECTRONIC NOTICE OF RESCHEDULING:Hearing Re: Forfeiture reset for 11/30/2017
                     02:00 PM in Courtroom 18 before Judge William G. Young. (Gaudet, Jennifer) (Entered:
                     11/27/2017)

11/27/2017   Ï 161   MEMORANDUM OF LAW by President and Fellows of Harvard College. (Belanger, William)
                     (Entered: 11/27/2017)

11/29/2017   Ï 162   Judge William G. Young: ELECTRONIC ORDER entered granting 156 Joint MOTION for
                     Extension of Time to 12/01/2017 to File Response as to 140 MOTION to Compel Non−Party
                     GlobalFoundries U.S., Inc. to Produce Documents and Appear at Deposition. (Paine, Matthew)
                     (Entered: 11/29/2017)

11/29/2017   Ï 163
         Case 1:17-cv-01729-UNA Document 167 Filed 12/01/17 Page 19 of 19 PageID #: 3632
                     Response by Micron Technology, Inc. to 161 Memorandum of Law . (Bobrow, Jared) (Entered:
                     11/29/2017)

11/30/2017   Ï 164   NOTICE by Micron Technology, Inc. re 140 MOTION to Compel Non−Party GlobalFoundries
                     U.S., Inc. to Produce Documents and Appear at Deposition, 141 Memorandum in Support of
                     Motion, (to Withdraw Motion Without Prejudice) (Peloquin, James) (Entered: 11/30/2017)

11/30/2017   Ï 165   Electronic Clerk's Notes for proceedings held before Judge William G. Young: Hearing Re
                     Forfeiture held on 11/30/2017. The Court hears arguments from counsel and rejects forfeiture. The
                     Court enters an Order transferring the case to the United States District Court for the District of
                     Delaware pursuant to the Order of the Federal Circuit. (Court Reporter: Richard Romanow at
                     bulldog@richromanow.com.)(Attorneys present: Attorneys Belanger and Deck for the plaiintiff,
                     Attorneys Bobrow and O'Toole for the defendant) (Gaudet, Jennifer) (Entered: 11/30/2017)

11/30/2017   Ï 166   Judge William G. Young: ELECTRONIC ORDER entered. ORDER TRANSFERRING the case
                     to the United States District Court for the DISTRICT OF DELAWARE pursuant to the Order of
                     the Federal Circuit. (SEE ECF No. 165) (Paine, Matthew) (Entered: 11/30/2017)
